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    1 LTL ATTORNEYS LLP
      James M. Lee (SBN 192301)
    2 james.lee@ltlattorneys.com
      David W. Ammons (SBN 187168)
    3 david.ammons@ltlattorneys.com
      Alex H. Hu (SBN 279585)
    4 alex.hu@ltlattorneys.com
      300 S. Grand Ave, 14th Floor
    5 Los Angeles, California 90071
      Tel.: 213-612-8900
    6 Fax: 213-612-3773
    7 Attorneys for Defendant
      THOMSON REUTERS (LEGAL) INC. erroneously named as
    8 THOMSON REUTERS AMERICA CORPORATION
    9
                          UNITED STATES DISTRICT COURT
   10
                        SOUTHERN DISTRICT OF CALIFORNIA
   11
   12
      ANDRE F. TOCE, an individual, The         CASE NO.: 3:17−CV−603−AJB−BLM
   13 TOCE FIRM, APLC, GILBERT H.
                                                [Assigned to the Hon. Anthony J.
   14 DOZIER, an individual, and                Battaglia]
      ANDERSON & DOZIER, LLP,
   15                                           DAVID W. AMMONS’
                Plaintiffs,                     DECLARATION IN SUPPORT OF
   16
                                                DEFENDANT THOMSON
   17     v.                                    REUTERS (LEGAL) INC.’S EX
                                                PARTE APPLICATION TO SEAL A
   18 CAMERON RENTCH, WISE LAW                  PREVIOUSLY-FILED DOCUMENT
      GROUP, LLC, KERRY
   19 STEIGERWALT, FORD &
      ASSOCIATES NATIONWIDE LEGAL
   20 SERVICES, APC, and THOMSON
   21 REUTERS AMERICA
      CORPORATION,
   22
   23              Defendants.
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            DAVID W. AMMON’S DECLARATION IN SUPPORT OF EX PARTE APPLICATION TO SEAL
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    1                    DECLARATION OF DAVID W. AMMONS
    2 I, David W. Ammons, declare as follows:
    3         1.    I am an attorney at law duly licensed to practice before all of the
    4 courts in the State of California and admitted to the Southern District of California
    5 and am a partner with the law firm of LTL Attorneys LLP, attorneys of record for
    6 Defendant Thomson Reuters (Legal) Inc. (“TR”) herein. I have personal
    7 knowledge of the matters stated herein and if called upon as a witness, I could and
    8 would competently testify thereto.
    9         2.    This declaration is made in support of TR’s ex parte application for
   10 an order sealing the unredacted version of Exhibit A to TR’s Cross-Complaint,
   11 filed as ECF No. 15-1.
   12         3.    On June 27, 2017, I contacted opposing counsel for all parties via
   13 email informing them of TR’s intention to move to seal the unredacted version of
   14 Exhibit A. I attached a copy of the proposed redactions to that email as a PDF. All
   15 other parties replied to inform me that they did not oppose the redactions.
   16         4.     I declare under penalty of perjury under the laws of the United States
   17 and the State of California that the foregoing is true.
   18 Executed this 27th day of June 2017 at Los Angeles, California.
   19
   20                                                David W. Ammons
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                    THOMSON REUTERS’ NOTICE OF PARTY WITH FINANCIAL INTEREST
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    1                           CERTIFICATE OF SERVICE
    2
      STATE OF CALIFORNIA)
    3 COUNTY OF LOS ANGELES)
    4
            I am employed in the county of Los Angeles State of California. I am over
    5 the age of 18 and not a party to the within action; my business address is: 300
                            th
    6 South Grand Ave., 14 Floor, Los Angeles, CA 90071.
    7
            On June 27, 2017, I served the foregoing document(s) described as DAVID
    8 W. AMMONS’ DECLARATION IN SUPPORT OF DEFENDANT
    9 THOMSON REUTERS (LEGAL) INC.’S EX PARTE APPLICATION TO
      SEAL A PREVIOUSLY-FILED DOCUMENT on the interested parties in this
   10 action.
   11
           David H. Lawton, Esq.                    Attorneys for Plaintiffs ANDRE F.
   12      The Gallagher Law Group PC               TOCE, THE TOCE
   13      1875 Century Park East, Suite 1550       FIRM, APLC, GILBERT H. DOZIER,
           Los Angeles, CA 90067                    AND ANDERSON & DOZIER, LLP
   14      310-203-2600
   15      310-203-2610 (fax)
           dlawton@thegallagherlawgroup.com
   16      Jack Reynolds Leer                       Attorneys for Defendants Ford &
   17      Caldarelli Hejmanowski & Page LLP        Associates Nationwide Legal Services,
           12340 El Camino Real, Suite 430          APC and Kerry Steigerwalt
   18      San Diego, CA 92130
   19      (858) 720-8080
           (858) 720-6680 (fax)
   20      jrl@chpllaw.com
   21      Matthew Miguel Mahoney                   Attorneys for Defendant and Cross
           Witham Mahoney & Abbott, LLP             Defendant Cameron Rentch
   22      401 B Street, Suite 2220
   23      San Diego,, CA 92101
           619-407-0505
   24      619-872-0711 (fax)
   25      mahoney@wmalawfirm.com
   26 //
   27 //
   28 //

                                                1
                                     CERTIFICATE OF SERVICE
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     ^ [X] BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused said
              document(s) to be served by means of this Court's electronic transmission of
     2        the Notice of Electronic filing through the Court's transmission facilities, to
     ^        the parties and/or counsel who are registered CM/ECF Users set forth in the
              service list obtained from this Court.
     4"
     ^ Executed on June 27, 2017, at Los Angeles, California.

     6 [X]    (Federal) I declare that I am employed in the office of a member of the bar of
     y        this court at whose direction the service was made.
     8
     g          Erik Jimenez Rodriguez
                       Print Name
    10

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                                        CERimCATE OF SERVICE
